Case 1:17-cv-04327-LLS-RWL Document 65 Filed 09/20/17 Page 1of 4
ARTURI, D'ARGENIO, GUAGLARDI & MELITI, L.L.P.

Counselors at Law
A Limited Liability Partnership

BARRY S. GUAGLARDI

. MACK CENTRE | JASON S$. NUNNERMACKER @
MCL ABL ON Re 365 WEST PASSAIC STREET, SUITE 130 FRANCES OLIVERI &
: ROCHELLE PARK, NJ 07662 KRISTEN E. SCHREIB &
201-947-4100 EVAN A. OSTRER 4
OF COUNSEL: FACSIMILE: 201-947-1010 MYLES M. MISSIRIAN
; FACSIMILE: 201-843-5302
ANTHONY X. ARTURI A NY&NIBAR
RINALDO M. D’ARGENIO & & NY,NI& PABAR
ILL MAIN STREET @ NI& RIBAR
P.O. BOX 509
WEBSITE: WWW._ADGMLAW COM CHESTER, NY 10918

845-576-0600
FACSIMILE: 845-576-0601

September 20, 2017

VIA E-FILE

Hon. James C. Francis, U.S.M.J.
United States Courthouse
Southern District of New York
500 Pearl Street,

New York, NY 10007

Re: Michael Dardashtian, et al. v. David Gitman, et al.
17-cv-4327

Dear Judge Francis

We have conferred with counsel for defendants, Gitman (“Gitman”), Accel Commerce,
LLC (“Accel”), Dalva Ventures, LLC (“Dalva”) and Channel Reply, Inc.’s (“CR, Inc.”) and
counsel for defendants, Jeremy Falk (“Falk”) and Summit Rock Holdings, LLC (“Summit
Rock”) (Falk and Summit Rock are collectively referred to herein as the “Falk Defendants”) in
connection with the Court’s request for a Joint Letter updating the Court on the status of the
issues related to the referral by Judge Stanton to Your Honor on June 21, 2017.

The purpose of the referral as set forth in the June 21, 2017 Order of Judge Stanton,
which June 21, 2017 Order was more fully placed on the record by Judge Stanton, was to insure
completeness of defendants, Gitman, Accel, Dalva and CR, Inc.’s compliance with the Court’s
Orders dated June 8, 2017, June 9, 2017 and June 19, 2017 Orders.

While we conferred with counsel, and were told we would receive their proposed Joint
Letter for our review, we did not receive same yesterday until after 10:00 PM. We sent them our
proposed letter earlier that day and they elected not to incorporate our concerns into their letter.
Additionally, counsel for Gitman added different issues in their letter than those discussed during
our call. Rather than submit our letter to the Court yesterday as directed, we awaited their
response.

Counsel for Gitman called me after 10:00 PM last night and I indicated to him that I
would not have an opportunity to review his letter until today and that he should review my letter
submitted earlier yesterday and incorporate our issues. Counsel for Gitman elected not to do so.
As a result, we are submitting the issues we believe remain outstanding as same relate to the
above orders.
Case 1:17-cv-04327-LLS-RWL Document 65 Filed 09/20/17 Page 2 of 4

1. Channel Reply, Inc.- Pursuant to the recommendation of Judge Stanton, Defendants
undertook preliminary action to complete dissolution of Defendant Channel Reply, Inc.,
however, to the best of my knowledge, we have been provided with no proof of the actual
formal dissolution of the entity;

2. Channel Reply, the software solution- There was a suggestion that Defendant Gitman
may have taken actions to protect via trademark or otherwise the tradename
“ChannelReply” in some form or another and we have not, to the best of my knowledge,
received written confirmation or assurance that no action has been taken by any
Defendant to protect via trademark or otherwise Plaintiffs’ intellectual property, the name
“ChannelReply”. This is of continued concern as Defendants are not permitted to do so
under the Court’s order;

3. Sale of NDAP: Need for Continued Restraints- On July 28, 2017, Plaintiff, Michael
Dardashtian (“Dardashtian”) consummated the sale of NDAP, with Defendant Gitman’s
knowledge and consent. As a result of that sale, there became the issue of whether
Defendant Summit Rock and its sole principal, Defendant Falk, would receive a
commission. That side issue, that is, the negotiation of a settlement agreement between
Defendants Falk and Summit Rock on the one hand and Plaintiffs, Dardashtian, Cooper
Square Ventures, LLC (“CSV”), NDAP, LLC (“NDAP”) and Channel Reply, LLC (“CR,
LLC”) (collectively “Plaintiffs”) and Defendants, Gitman, Accel, Dalva and CR, Inc.
(collectively “Gitman Defendants”) on the other hand, has been the subject of multiple
drafts of a settlement agreement exchanged between the Plaintiffs, the Gitman
Defendants and the Falk Defendants and has led to a larger issue relating to the above
orders of the Court.

The Plaintiffs and the Falk Defendants established language that was mutually acceptable
and it was agreed as part of the proposed settlement agreement. However, as part of the
settlement, the Falk Defendants require that Defendant Gitman execute the proposed settlement
agreement. Without getting into the substance of the settlement agreement at this juncture, the
settlement agreement does contain the imposition of certain restrictions and restrictive covenants
on the Falk Defendants.

Defendant Gitman, who is a 50% owner of Plaintiff Companies, disagrees with certain
language in the proposed settlement agreement, which language ultimately provides that
ChannelReply is owned by Plaintiff CSV.

During conversation among counsel, it became clear that the reason Defendant Gitman
has taken this position and seeks to eliminate this language which characterizes that the
ChannelReply software is owned by Plaintiff CSV is because he intends to later argue in this
matter that Defendant Konstantyn Bagaev (“Bagaev’’) is also a 5% owner of ChannelReply
through his “sweat equity”.

Bagaev was one of ChannelReply’s developers who was and currently still is an
independent contractor of Plaintiffs that Defendant Gitman sought to involve in misappropriating
and transferring the ChannelReply intellectual property to Defendant CR, Inc. until such time as
this Court restrained such activity. By Defendant Gitman asserting this position at this juncture,
Defendant Gitman has clearly stated that he intends to seek to intentionally dilute both himself
and Plaintiff Dardashtian’s ownership interest in ChannelReply (or its owner CSV) below 50%
to then attempt to seek majority control by presumably aligning himself with Defendant Bagaev
Case 1:17-cv-04327-LLS-RWL Document 65 Filed 09/20/17 Page 3 of 4

yet a second time. This is exactly what Defendant Gitman sought to do prior to the entry of the
above orders of this Court in attempting, through Defendant CR, Inc. and by soliciting Defendant
Bagaev, to misappropriate the Plaintiff's ChannelReply intellectual property, which is what the
restraints were designed to avoid. Absent continued restraints, Defendant Gitman will have the
ability do the same thing, only this time by dilution within the Plaintiff Companies, rather than
through a transfer to Defendant CR, Inc. which he was recommended to vaporize by Judge
Stanton.

The relevance of the foregoing is that paragraph (h) of the June 8, 2017 Order provides:

“Restraining and enjoining Defendant’s Gitman, Accel..., Dalva... and/or Channel
Reply, Inc., their owners, members, officers, directors, managers, employees,
subcontractors, agents, transferees and representatives, from utilizing, sharing, selling,
transferring, ...or otherwise affecting in any manner the proprietary and/or confidential
information and code that was developed by CSV’s developers, Konstantyn Bagaev and
Oleksii Glukarev, for the sole benefit of Plaintiff's CSV, ChannelReply and/or NDAP”

Despite this restraint, it has been made clear through our telephone conference with
Defendant Gitman’s counsel, regarding the issues before Your Honor that Defendant Gitman
directly intends to seek to sell and/or transfer some of his ownership interest in ChannelReply,
which Plaintiffs contend is owned by Plaintiff CSV, to Defendant Bagaev. Defendant Gitman is
seeking to do this despite the fact that the above restraints clearly indicated that the
ChannelReply code was developed by Bagaev as a developer for CSV and for the sole benefit of
Plaintiffs.

In essence, Defendant Gitman is seeking to undermine the above settlement which was
the product of substantial negotiation between the Plaintiffs and the Falk Defendants, and which
has resulted in a compromise to Plaintiffs, in order to further his strategy to create yet another
dispute within this litigation as to the ownership of the ChannelReply intellectual property. These
strategic arguments are being advanced by Defendant Gitman through his counsel even though
counsel for Gitman (1) does not represent Defendant Bagaev and (2) despite the fact that
Defendant Gitman is only diluted under 50% by his own argument.

This Court has not been requested to rule upon the distribution of any monies resulting
from the NDAP sale and there is no basis for Defendant Gitman’s request for same.

4. Continued Removal of Gitman as Manager-

For all of the reasons placed on the record by Judge Ramos and Judge Stanton, the Court
took the measure of removing Gitman as a manager of Plaintiff Companies. The reasons are
various and include but are not limited to outright misappropriation, theft of computer data and
locking out Plaintiff Dardashtian from virtually every one of Plaintiff Companies’ accounts.
Even after the removal, Defendant Gitman attempted to interfere with Plaintiff Companies’
business operation. Only since the removal and Plaintiff Dardashtian’s management along with
the companies accountant as a co-manager has the Plaintiff Companies operated smoothly.
Defendant Gitman’s intentions are clear, even as set forth in paragraph number 3 above, that he
will seek to continue to attempt to undermine the Plaintiffs and create interference if given the
opportunity. Plaintiffs object to Defendant Gitman being reinserted as a manager of Plaintiff
Companies, especially in light of his failure to act in the best interests of the Plaintiff Companies.
Case 1:17-cv-04327-LLS-RWL Document 65 Filed 09/20/17 Page 4 of 4

There is no basis whatsoever for his being permitted to do so. The only reason there have been
minimal complaints thus far by Plaintiff about Defendant Gitman is due to the extraordinary
measures taken by Plaintiff and granted by this Court to compel his removal and compliance
with this Court’s orders after numerous violations.

Based upon the foregoing, the restraints imposed by the Court should remain in effect
until such time as Defendant Gitman complies and/or redresses the issues identified above.

     
    

tfully Submitted,
| GUAGLARDI & MELITI, LLP

|

ty i Guaglardi, Esq.

 
   

BSG:st

Cc: Lindsay Ditlow, Esq. (via E-File)
Brian Cousin, Esq. (via E-File)
Mark D. Meredith, Esq. (via E-File)
Edward P. Gilbert, Esq. (via E-File)
